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        EXHIBIT 6
 Case 2:17-cv-07639-SJO-KS Document 646-6 Filed 01/14/20 Page 2 of 6 Page ID
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   JUNO THERAPEUTICS vs KITE PHARMA                                          1

·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · CENTRAL DISTRICT OF CALIFORNIA

·3

·4·   JUNO THERAPEUTICS, INC.;
· ·   MEMORIAL SLOAN KETTERING
·5·   CANCER CENTER; and SLOAN
· ·   KETTERING INSTITUTE FOR
·6·   CANCER RESEARCH,

·7· · · · · · · Plaintiffs,

·8· · · · · · · vs.· · · · · · · · · Case No.
· · · · · · · · · · · · · · · · · · ·2:17-cv-07639-SJO-
·9· KITE PHARMA, INC.,· · · · · · · ·RAO

10·   · · · · · · Defendant.
· ·   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
11·   AND RELATED COUNTERCLAIMS
· ·   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
12

13· · · · · · · · · · HIGHLY CONFIDENTIAL

14· · · VIDEOTAPED DEPOSITION OF AYA JAKOBOVITS, Ph.D.

15

16· · · · · · · · ·FRIDAY, FEBRUARY 8, 2019

17· · · · · · · · · · · · ·9:58 A.M.

18

19· · · · · · 2049 CENTURY PARK EAST, 23RD FLOOR

20· · · · · · · · · LOS ANGELES, CALIFORNIA

21

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25· · ·Reported by Megan M. Grossman-Sinclair, CSR 12586


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·1· · · · · · APPEARANCES OF COUNSEL

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       JUNO THERAPEUTICS vs KITE PHARMA                                          3

·1· · · · · · APPEARANCES (Continued)

·2

·3· ·Also Present:

·4· · · · TASHICA W. AMIRGHOLIZADEH, Ph.D.
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·5· · · · Corporate Counsel

·6
· · · · · SAMANTAK GHOSH
·7· · · · GILEAD SCIENCES, INC.
· · · · · IP Litigation Counsel
·8

·9· · · · TODD BULLOCK, Videographer

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·1· ·will have Elizabeth re-read the question, but that                              11:54:00
·2· ·you did not review Dr. Sadelain's IP.· So I would                               11:54:03
·3· ·just add an objection to lack foundation.                                       11:54:08
·4· · · · · · · · · THE WITNESS:· So can you repeat the                              11:54:12
·5· ·question?                                                                       11:54:15
·6· ·BY MS. TUAN:                                                                    11:54:15
·7· · · · · · ·Q.· ·Sure.· So after you received this                                11:54:15
·8· ·e-mail from Dr. Ribas which said that Dr. Sadelain                              11:54:18
·9· ·had sent his CD19 CAR backbone to Dr. Rosenberg,                                11:54:19
10· ·you did not review Dr. Sadelain's IP again?                                     11:54:26
11· · · · · · · · · MS. BROOKS:· Renew my objection as                               11:54:29
12· ·to lack of foundation.                                                          11:54:31
13· · · · · · · · · THE WITNESS:· I myself did not.                   I              11:54:38
14· ·myself did not.· It was -- the instructions.                                    11:54:56
15· ·BY MS. TUAN:                                                                    11:55:07
16· · · · · · ·Q.· ·So you personally did not review                                 11:55:07
17· ·it?                                                                             11:55:09
18· · · · · · ·A.· ·I myself -- I myself did not                                     11:55:09
19· ·review.                                                                         11:55:13
20· · · · · · ·Q.· ·And did you ask anyone else at Kite                              11:55:13
21· ·to review Dr. Sadelain's IP after you received                                  11:55:17
22· ·this e-mail from Dr. Ribas?                                                     11:55:20
23· · · · · · ·A.· ·I don't recall.                                                  11:55:25
24· · · · · · ·Q.· ·Did you have an understanding of                                 11:55:25
25· ·the components of the NCI -- the NCI CD19 CAR                                   11:55:42


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·1· · · · · · · · REPORTER'S CERTIFICATION
·2
·3
·4
·5· · · · I, Megan Grossman-Sinclair, Certified
·6· ·Shorthand Reporter, in and for the State of
·7· ·California, do hereby certify:
·8
·9· · · · That the foregoing witness was by me duly
10· ·sworn; that the deposition was then taken before
11· ·me at the time and place herein set forth; that
12· ·said testimony and proceedings were reported
13· ·stenographically by me and later transcribed into
14· ·typewriting under my direction; that the foregoing
15· ·is a true record of the testimony and proceedings
16· ·taken at that time.
17
18· · · · IN WITNESS WHEREOF, I have subscribed my name
19· ·this 11th day of February 2019.
20
21
22
23· ·Megan Grossman-Sinclair, CSR No. 12586
24
25


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